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        &lt;div&gt;&lt;header&gt;&lt;p id="Page" data-paragraph-id="35c0804c86"&gt; 1 &lt;/p&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="c31137efb4"&gt;&lt;span data-sentence-id="72f0602998" quote="false" data-paragraph-id="c31137efb4"&gt; Samantha Wagner; Ashley Stewart; A. S., a minor child acting through her mother and next best friend, Ashley Stewart; Mandy Davis; and Ammar Laskarwala, Petitioners &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="06d64c760c" quote="false" data-paragraph-id="c31137efb4"&gt; &lt;br /&gt; Planned Parenthood Federation of America, Inc. and Rocky Mountain Planned Parenthood, Inc., a/k/a Planned Parenthood of the Rocky Mountains, Inc.&lt;/span&gt; Respondents &lt;/p&gt;&lt;p data-paragraph-id="fa629a676f"&gt;No. 23SC672&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="ca853be1b1"&gt;July 1, 2024&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="55818e682e"&gt;&lt;span data-sentence-id="4085783b2b" quote="false" data-paragraph-id="55818e682e"&gt; Court of Appeals Case No. 21CA1961 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;
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